Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7031 Page 1 of 48



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       CHRISTOPHER RICHMOND
  10
  11                       UNITED STATES DISTRICT COURT FOR THE

  12                         SOUTHERN DISTRICT OF CALIFORNIA

  13
       CHRISTOPHER RICHMOND, an                       Case No: 3:20-cv-01925-W-KSC
  14   individual;
  15               Plaintiff,                         DECLARATION OF
                                                      CHRISTOPHER RICHMOND IN
  16
                      v.                              SUPPORT OF PLAINTIFF’S
  17                                                  OPPOSITION TO DEFENDANTS’
       DAVID MIKKELSON, an individual;                REQUESTS FOR ATTORNEYS’
  18
       BRAD WESTBROOK, an individual;                 FEES PURSUANT TO ECF 38
  19   and DOE DEFENDANTS 1-10,
       inclusive,
  20                                                  Judge:          Hon. Thomas J. Whelan
                    Defendants,
                                                      Dept.:          3C
  21   And
                                                      Mag. Judge:     Hon. Karen S. Crawford
  22   SNOPES MEDIA GROUP, INC.                       Action filed:   September 25, 2020
  23               Nominal Defendant.

  24
  25
              I, Christopher Richmond, declare as follows:

  26
              1.     I am the plaintiff in the present action, and submit this declaration in

  27
       support of my opposition to the requests for attorneys’ fees by defendants Snopes

  28
       Media Group, Inc. (Snopes or the Company) and David Mikkelson and Brad
                                                   -1-
       RICHMOND DECL. ISO P’S OPP. TO Ds FEE REQUESTS et al.      CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7032 Page 2 of 48



   1   Westbrook (the Individual Defendants). Unless otherwise stated, I have personal
   2   knowledge of the facts set forth in this declaration. If called to testify, I could and
   3   would competently testify to such facts.
   4          2.     In July 2016, I, along with the other members of Proper Media, LLC
   5   purchased a share representing a 50% interest in Snopes
   6          3.     On or about May 4, 2017, Proper Media, my colleague Drew
   7   Schoentrup and I filed an action in San Diego Superior Court against David
   8   Mikkelson, Snopes, and two former members of Proper Media, titled Proper
   9   Media, LLC v. Snopes Media Group, Inc., No. 37-2017-00016311-CU-BC-CTL
  10   (the State Action).
  11          4.     On or about March 20, 2018, I became a director of Snopes, and I
  12   continue to serve in that capacity. As a director of Snopes, I believe that I have a
  13   fiduciary duty to ensure that Snopes’ officers, employees, other directors, and
  14   majority shareholders are performing their duties, obligations, and responsibilities
  15   consistent with California law and Snopes’ own corporate governance documents.
  16          5.     Since being elected a director of Snopes, however, I seem to have been
  17   regularly excluded from discussion of Snopes’ business and refused information
  18   necessary to fulfil my fiduciary duties to the Company. For example, as of February
  19   2020, I had not seen any financial statements or results since the second quarter of
  20   2019, despite multiple requests amid defendant Mikkelson’s statements that the
  21   Company was “on the brink of bankruptcy.”
  22          6.     I have repeatedly raised my concerns regarding the Company’s
  23   performance, measured in terms of both revenue and of data showing decreased
  24   traffic on the Snopes.com website.
  25          7.     I also raised concerns in late 2020 and early 2021 about the
  26   Company’s handling of a lawsuit brought in December 2020 by a former Snopes
  27   employee alleging wrongful termination, retaliation and other similar employment-
  28   related claims (the Garcia Action). It took more than a month for me to get a
                                                   -2-
       RICHMOND DECL. ISO P’S OPP. TO Ds FEE REQUESTS et al.      CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7033 Page 3 of 48



   1   response to a simple question about who was handling the litigation on the
   2   Company’s behalf. Because Mikkelson had been identified in the Garcia Action as
   3   someone who allegedly engaged in discriminatory and retaliatory conduct, I
   4   believed that his personal interests in that litigation would create a conflict of
   5   interest with the Company’s position and defense of the claims. Therefore, I also
   6   raised concerns about whether Mikkelson had any responsibilities for handling the
   7   Garcia Action on the Company’s behalf.
   8          8.     Raising these concerns has made me unpopular with my colleagues on
   9   the Snopes Board, but I harbor no ill will toward them personally and am only
  10   interested in ensuring that all of us are doing right by the Company.
  11          9.     Unfortunately, however, whenever I have attempted to help Snopes,
  12   my efforts have been rebuffed and I have been further excluded from discussions
  13   about Snopes and its current status. For example, in April 2021, Mikkelson emailed
  14   Brad Westbrook and me asking for “an outline of suggestions, ideas, and plans for
  15   helping the company to raise capital, boost revenues, increase traffic, enhance
  16   promotion and any other beneficial endeavors.” In response, I asked for further
  17   details about how much money the Company wanted to raise, what the funds were
  18   needed for, and other basic information to allow me to assist by developing and
  19   proposing specific ideas. My requests were ignored, and without this information, I
  20   was unable to make any meaningful suggestions or adequately prepare any
  21   proposals for consideration. For the sake of brevity, I do not attach this and other
  22   email communications corroborating my belief that I have raised valid concerns as a
  23   director of Snopes and been excluded from Snopes; however, such communications
  24   are available to the Court upon request.
  25          10.    Also, I only mention these efforts to explain that my actions as a
  26   director were for the benefit of Snopes, even though I understand the Court believes
  27   that this litigation (and potentially other acts by me) were intended to harass the
  28   Company or its officers. To be clear, I am a shareholder of Snopes, and I only want
                                                   -3-
       RICHMOND DECL. ISO P’S OPP. TO Ds FEE REQUESTS et al.      CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7034 Page 4 of 48



   1   to see it succeed. After all, the only way that I can benefit from my shareholding
   2   interest in Snopes is if it succeeds and thrives sufficiently to deliver results to its
   3   shareholders in the form of distributions. Despite the fact that it regularly made
   4   distributions to its shareholders prior to July 1, 2016, the date that I first held an
   5   interest in Snopes, the Company has not made any distributions to shareholders
   6   since that time, even before any of the parties’ respective disputes arose and
   7   litigation was commenced in May 2017. This too is an issue of concern that has
   8   motivated my lawsuits on behalf of Snopes.
   9          11.    In the interests of full disclosure, and despite this Court’s rulings, I
  10   confess that the good faith concerns that I had in 2019 and 2020 about self-dealing
  11   and misfeasance at the Company, some of which led me to file the present action,
  12   remain. In fact, some concerns have only grown more pressing in recent months.
  13   Specifically, on or about August 13, 2021, BuzzFeed published an article
  14   identifying 54 articles that Mikkelson had admittedly plagiarized by copying them
  15   from other new sources and inaccurately claiming authorship. Attached as Exhibit
  16   A is a true and correct copy of the August 13, 2021 BuzzFeed Article “The Co-
  17   Founder of Snopes Wrote Dozens of Plagiarized Articles For The Fact-Checking
  18   Site.” Mikkelson acknowledged his plagiarism in that article, but justified it by
  19   saying that it was because he lacked professional training in journalism.
  20          12.    Such conduct from the head of Snopes, even if unwitting or
  21   unintentional, continues to cause me grave concerns about the Company’s viability,
  22   goodwill, and financial prospects. But, I have come to appreciate that going through
  23   the judicial system to address these concerns after exhausting other avenues is
  24   fruitless, financially debilitating, and personally damaging.
  25          13.    With respect to the present action, I have provided multiple
  26   reassurances that the claims seek only recovery of damages on Snopes’ behalf, and
  27   do not seek to prevent Snopes from funding current litigation. I believe, including
  28   based on advice of counsel, that the claims I tried to bring in this action are
                                                   -4-
       RICHMOND DECL. ISO P’S OPP. TO Ds FEE REQUESTS et al.       CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7035 Page 5 of 48



   1   different from those in the State Action because they sought recoupment of fees that
   2   came to light and were incurred after the order in the State Action granting Snopes
   3   and Mikkelson’s anti-SLAPP motions to strike. Again, to be clear, I never sought to
   4   cut off anyone’s legal fees, and the present action was not an effort to aid,
   5   duplicate, or otherwise further my claims in the State Action.
   6          14.    Unfortunately, my desire for Snopes to succeed, and my belief that
   7   Snopes’ success has been misunderstood, and, under Mikkelson’s leadership, has
   8   been derided and mischaracterized in an effort to humiliate and deter me as well as
   9   raise funds for litigation efforts against me. For example, following the Court’s
  10   Rule 11 Order, Snopes published an article on its website dated October 8, 2021
  11   titled “Federal Judge Says ‘Frivolous’ Lawsuit Was Filed to ‘Harass’ Snopes,”
  12   telling readers that “Christopher Richmond and his attorney, Matthew Hrutkay,
  13   deliberately filed a ‘frivolous’ lawsuit to ‘harass’ Snopes; its CEO and Board
  14   Chairman, David Mikkelson; and a member of the Snopes board of directors, Brad
  15   Westbrook.” The article goes on to describe its “stunning victory,” that “Richmond
  16   and Hrutkay will have to pay our attorney’s fees in the federal case.” This despite
  17   the fact that the Court has yet to decide the appropriate sanction. Moreover, the
  18   article contains a link to Snopes’ GoFundMe campaign, soliciting funds for
  19   litigation efforts brought by me on its behalf and for its benefit. Attached as
  20   Exhibit B is a true and correct copy of the Snopes article referenced in this
  21   paragraph.
  22          15.    After trying to shine a light on abuses by Snopes’ officers for years
  23   and being publicly shamed for doing so, I have no desire to further aggravate the
  24   pending disputes at issue in the State Action, and have made multiple proposals for
  25   a mediated resolution of the parties’ respective disputes to allow Snopes to move on
  26   and thrive. I am hopeful that some negotiated resolution might result in the coming
  27   months, but have resigned myself to the fact that I will be excluded from any
  28   meaningful participation in Snopes as either a director or shareholder.
                                                   -5-
       RICHMOND DECL. ISO P’S OPP. TO Ds FEE REQUESTS et al.     CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7036 Page 6 of 48



   1          16.    All this, combined with the Court’s Rule 11 Order, has and will deter
   2   me from advancing any adversarial claims against Snopes or the Individual
   3   Defendants now and in the future, no matter how well-intentioned. For example,
   4   after Snopes refused my July 31, 2021 request to inspect the Company’s non-
   5   privileged records, which California law apparently makes an absolute right, I filed
   6   a writ petition to enforce this inspection right. Following the Court’s Rule 11 Order,
   7   however, I understand that any court would be unlikely to grant inspection rights to
   8   a director that has been found to have harassed the Company and its officers, even
   9   if I respectfully disagree with that determination. Accordingly, I no longer seek the
  10   remedy that is statutorily available to allow me to fulfill my duties as a director.
  11   Instead, I am simply requesting a neutral investigation or audit of Snopes that
  12   removes personality conflicts from the issue, but the Company continues to resist
  13   even such efforts, meaning that the adversarial relationship will continue despite
  14   my efforts to reach compromise. Unfortunately, until the State Action is either
  15   settled or resolved at trial, I must continue to defend myself and pursue my rightful
  16   claims in that action. Beyond actions necessary in that action, I have had enough.
  17          17.    The Court should not draw any negative inference from the fact that
  18   the plaintiffs in the State Action and I personally have had multiple firms
  19   representing me over the years. Without disclosing attorney-client privileged
  20   information and out of respect for my former counsel, I can only say that the
  21   reasons for retaining new counsel had nothing to do with improper motives or
  22   tactics. Rather, differences developed between former counsel, me, and other
  23   plaintiffs in the State Action, including after losses on multiple key issues in the
  24   State Action, that we could not reconcile and that made it impossible to continue
  25   with those representations.
  26          18.    Plaintiffs in the State Action subsequently retained Matthew Hrutkay
  27   in September 2019, and, at Mr. Hrutkay’s suggestion, Philip Tencer in June 2020 in
  28   an effort to reverse course and limit fees. Contrary to any implication by
                                                   -6-
       RICHMOND DECL. ISO P’S OPP. TO Ds FEE REQUESTS et al.     CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7037 Page 7 of 48



   1   defendants, there was no effort to shop around for counsel who would execute any
   2   personal vendetta, but only to find competent counsel who, after a good faith
   3   investigation, advised me on legal nuances resulting in me filing the present action.
   4   For what it is worth, while I respect this Court’s decision that this action is subject
   5   to dismissal, I believe it was appropriate for me to rely on both my counsel’s advice
   6   based on their good-faith factual and legal investigation and their best
   7   understanding at the time of what I understand is a complicated area of the law. In
   8   fact, part of the reason that I incurred additional fees in hiring Mr. Tencer (who
   9   charges a significantly higher rate than Mr. Hrutkay) was to obtain a full and
  10   complete perspective of the claims that were eventually brought in this action. I
  11   would certainly not have gone to the cost and expense of hiring an independent,
  12   more senior, and more expensive attorney if my true intent was to harass and
  13   intimidate Snopes and the Individual Defendants. Rather, my intent was to pursue
  14   remedies that the law allowed after all other efforts failed.
  15          19.    Snopes’ efforts to see into my personal finances are completely
  16   unsupported, and neither it nor the Individual Defendants have personal knowledge
  17   of my financial circumstances beyond pure conjecture. Although I do not claim an
  18   inability to pay the fees sought by Snopes and the Individual Defendants, payment
  19   of the full amount requested here, would represent approximately 50% of my net
  20   income for 2020 and 25% of my entire life savings. Further, I have spent hundreds
  21   of thousands of dollars in legal fees and costs in the State Action and the present
  22   action; I face significant liabilities in the State Action, including a request for fees
  23   totaling $450,000; and I also face the fees and expenses associated with an appeal
  24   in this action, especially if this Court awards monetary sanctions. Much of my
  25   income over the past several years has been directed toward servicing unrelated
  26   business debt and purchasing equity in Snopes.
  27          20.    Although Snopes may blame it’s poor financial performance on the
  28
                                                   -7-
       RICHMOND DECL. ISO P’S OPP. TO Ds FEE REQUESTS et al.      CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7038 Page 8 of 48



   1   fees it has incurred in this litigation, my understanding from what little revenue
   2   information and materials I have leads me to believe that Snopes’ poor performance
   3   relates to other things. For example, it has experienced decreased website traffic,
   4   and its management has pursued an unusual revenue strategy, including poor
   5   decisions. None of this is impacted by the amount of fees that Snopes pays for itself
   6   and its officers in this and other litigations. Moreover, Snopes also has a thriving
   7   GoFundMe campaign that has raised at least $1,793,810 over the last several years,
   8   showing dozens of donations in just the past few weeks. Attached hereto as Exhibit
   9   C is a true and correct copy of Snopes’ GoFundMe campaign as of November 16,
  10   2021. Accordingly, Snopes has no peculiar need associated with litigation fees and
  11   expenses to be reimbursed.
  12           I declare under penalty of perjury under the laws of the United States and the
  13   State of California that the foregoing is true and correct to the best of my
  14   knowledge. This declaration was executed on this November 16, 2021, in Puerto
  15   Rico.
  16

  17                                                     _________________________
                                                               Christopher Richmond
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       RICHMOND DECL. ISO P’S OPP. TO Ds FEE REQUESTS et al.      CASE NO. 3:20-CV-01925-W-KSC
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7039 Page 9 of 48




                        EXHIBIT A
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7040 Page 10 of 48




                                                        REPORTING TO YOU




                                                   BuzzFeed News / Getty Images (1)




                 TECH



                 The Co-Founder
                 Of Snopes
                 Wrote Dozens
                 Of Plagiarized
                 Articles For The
                 Fact-Checking
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7041 Page 11 of 48

                 Site
                 “You can always take an existing article
                 and rewrite it just enough to avoid
                 copyright infringement."
                          Dean Sterling Jones
                          BuzzFeed Contributor


                 Last updated on August 27, 2021, at 11:19 a.m. ET
                 Posted on August 13, 2021, at 10:19 a.m. ET


                 David Mikkelson, the co-founder of
                 the fact-checking website Snopes, has
                 long presented himself as the arbiter of
                 truth online, a bulwark in the fight
                 against rumors and fake news. But he
                 has been lying to the site's tens of
                 millions of readers: A BuzzFeed News
                 investigation has found that between
                 2015 and 2019, Mikkelson wrote and
                 published dozens of articles containing
                 material plagiarized from news outlets
                 such as the Guardian and the LA Times.

                 After inquiries from BuzzFeed News,
                 Snopes conducted an internal review
                 and confirmed that under a pseudonym,
                 the Snopes byline, and his own name,
                 Mikkelson wrote and published 54
                 articles with plagiarized material. The
                 articles include such topics as same-sex
                 marriage licenses and the death of
                                       The Co-Founder Of Snopes Wrote Dozens Of Plag
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7042 Page 12 of 48
                                  The Co-Founder Of Snopes Wrote Dozens Of Plag
                 musician David Bowie.

                 Snopes VP of Editorial and Managing
                 Editor Doreen Marchionni suspended
                 Mikkelson from editorial duties
                 pending “a comprehensive internal
                 investigation.” He remains an officer
                 and a 50% shareholder of the company.



                 “Our internal research so far has found
                 a total of 54 stories Mikkelson
                 published that used appropriated
                 material, including all of the stories
                 Buzzfeed shared with us,” Marchionni
                 and Snopes Chief Operating Officer
                 Vinny Green said in a statement.


                 "Let us be clear: Plagiarism undermines
                 our mission and values, full stop,"
                 Marchionni added. "It has no place in
                 any context within this organization."


                 Snopes’ editorial staff disavowed
                 Mikkelson’s behavior in a separate
                 statement signed by eight current
                 writers. “We strongly condemn these
                 poor journalistic practices. … we work
                 hard every day to uphold the highest
                 possible journalistic and ethical
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7043 Page 13 of 48
                 standards.”


                 Snopes told BuzzFeed News it plans to
                 retract all of the offending stories and
                 disable advertising on them. It will also
                 append an editor's note of explanation
                 to each.


                 Said Mikkelson, “There is no excuse for
                 my serious lapses in judgement. I’m
                 sorry.”



                 “So I was browsing the news and came
                 across an article on the CBS News web
                 site about a horrific crime involving a
                 Memphis woman charged with killing
                 four of her children by slitting their
                 throats with a butcher knife: Hmm, I
                 wondered, as I pondered the headline
                 ("Memphis mom charged with grizzly
                 butchering of 4 of her kids"), did this
                 woman murder her children in bear-like
                 fashion? Or was the mother of extremely
                 advanced age?”

                 —Snopes.com/July 3, 2016

                 Meet Jeff Zarronandia. During a brief
                 but memorable career, his byline, which
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7044 Page 14 of 48
                 linked to a bio detailing his Pulitzer
                 Prize and his skill at mule-skinning,
                 appeared on at least 23 Snopes articles
                 on topics like Donald Trump’s financial
                 woes and false rumors about Hillary
                 Clinton. His reporting made enemies of
                 hoaxsters and fabulists across the
                 political spectrum, including former
                 Trump campaign adviser Roger Stone
                 and the late “fake-news kingpin” Paul
                 Horner, both of whom were unaware of
                 his true identity.

                 "It's just a David Mikkelson alt,” Snopes'
                 former managing editor Brooke
                 Binkowski explained when BuzzFeed
                 News inquired. "He used to write about
                 topics he knew would get him hate mail
                 under that assumed name. Plus it made
                 it appear he had more staff than he
                 had."

                 Between 2015 and 2019, Mikkelson
                 regularly plagiarized reporting from
                 other news outlets in an effort, he said,
                 to scoop up traffic.
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7045 Page 15 of 48




                 BuzzFeed News



                 In an interview with BuzzFeed News,
                 Mikkelson attributed this behavior to
                 his lack of formal journalism
                 experience. “I didn't come from a
                 journalism background,” he said. “I
                 wasn't used to doing news aggregation.
                 A number of times I crossed the line to
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7046 Page 16 of 48
                 where it was copyright infringement. I
                 own that."

                 In an explanation about the website’s
                 practices, Snopes informs readers that it
                 “follows all industry guidelines for
                 transparency in reporting” adding, “we
                 think being transparent with readers is
                 the coolest.” But the fact that
                 Zarronandia was in fact Mikkelson was
                 not disclosed anywhere on the site.
                 Following BuzzFeed News’ inquiry, the
                 Zarronandia author page has been
                 removed, and the Zarronandia byline
                 has been replaced with “Snopes staff."

                 Founded in 1995 by Mikkelson and his
                 then-wife, Barbara Hamel, Snopes bills
                 itself as "the internet's definitive fact-
                 checking site," and is a two-time Webby
                 Award winner cited by the likes of the
                 New York Times and the Washington
                 Post. It served as one of Facebook’s fact-
                 checking partners between December
                 2016 and February 2019. But in recent
                 years, the site has been troubled by a
                 bitter ownership dispute.

                 Mikkelson’s alias flies in the face of the
                 site's mission, once described by the
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7047 Page 17 of 48
                 New York Times as "a quest to debunk
                 misinformation online." It also
                 highlights his penchant for trolling,
                 something he was known for in the
                 early 1990s, when he posted on Usenet
                 forums under the handle “snopes.” At
                 that time, he was so strongly associated
                 with trolling — even tricking advice
                 columnist Ann Landers into running
                 several prank letters — that the practice
                 was sometimes referred to as “snoping.”

                 Similar pranks and allusions to trolling
                 are littered throughout Snopes’ site. For
                 example, a section called “The
                 Repository of Lost Legends,” which
                 forms the acronym “TROLL,” contains
                 spoof fact-checks with titles like
                 “Mister Ed was a Zebra.” Another article,
                 “Do People Swallow Eight Spiders Per
                 Year?” which was penned by Mikkelson
                 as a lesson to readers to always check
                 their sources, includes reference to
                 nonexistent tech columnist "Lisa Birgit
                 Holst,” whose name is, in fact, an
                 anagram for "this is a big troll."

                 In an interview with BuzzFeed News,
                 Mikkelson said that he created the
                 Zarronandia pseudonym as a joke
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7048 Page 18 of 48
                 intended to mislead the trolls and
                 conspiracy theorists who frequently
                 targeted the site and its writers in the
                 run-up to the 2016 US presidential
                 election.

                 “It was kind of a stress-relief thing
                 [after] spending 20 years seeing people
                 trying to discredit our work by just
                 making stuff up about us,” Mikkelson
                 said. “Let’s have some fun and watch
                 these people vent their spleen inventing
                 reasons why this nonexistent persona is
                 biased.”

                 Knowingly misleading readers by using
                 a fake name is considered unethical for
                 many news outlets — especially one
                 that markets itself as a bulwark of truth
                 and transparency. Far worse is
                 plagiarism.

                 BuzzFeed News found dozens of articles
                 on Snopes' site that include language —
                 sometimes entire paragraphs — that
                 appear to have been copied without
                 attribution from news outlets that
                 include the New York Times, CNN, NBC
                 News, and the BBC. Six of these articles
                 were originally published under
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7049 Page 19 of 48
                 Zarronandia’s byline, three under
                 Mikkelson’s own, and the rest under
                 “Snopes staff.” Snopes’s subsequent
                 internal review identified 140 articles
                 with possible problems and 54 that
                 were found to include appropriated
                 material.




                 BuzzFeed News



                 "That was his big SEO/speed secret," said
                 Binkowski, whom Snopes fired without
                 explanation in 2018 (she currently
                 manages the fact-checking site Truth or
                 Fiction). “He would instruct us to copy
                 text from other sites, post them
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7050 Page 20 of 48
                 verbatim so that it looked like we were
                 fast and could scoop up traffic, and then
                 change the story in real time. I hated it
                 and wouldn't tell any of the staff to do
                 it, but he did it all the time.”

                 Two other former employees also said
                 that copying and rewriting content was
                 part of Mikkelson's strategy for driving
                 traffic to Snopes’ site. One, who asked to
                 remain anonymous, told BuzzFeed News
                 that "taking credit for other people's
                 work" was "part of his model.”

                 Edward Wasserman, professor of
                 journalism at the University of
                 California, Berkeley who specializes in
                 ethics, said that using other people’s
                 work “must be conducted subject to
                 rules of attribution, so that the reader
                 isn't misled into crediting the current
                 writer with finding the information
                 first, which is an important claim to
                 credibility and proficiency.” Many
                 prominent news organizations,
                 including the New York Times, the
                 Washington Post, and BuzzFeed News,
                 have acknowledged plagiarism in their
                 own pages and publicly corrected the
                 record, as Snopes is doing now.
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7051 Page 21 of 48




                 BuzzFeed News



                 The Zarronandia byline first appeared
                 on the site in 2015 on an article that
                 seems to have been plagiarized in its
                 entirety, except for a few minor word
                 changes, from a Reuters bulletin about
                 Kim Davis, a Kentucky county clerk who
                 refused to issue same-sex marriage
                 licenses.

                 Reuters confirmed it does not currently
                 have any licensing agreement with
                 Snopes, but declined to answer
                 questions about any past agreements. A
                 spokesperson told BuzzFeed News, “Any
                 use of Reuters material that is not
                 licensed for publication must abide by
                 applicable copyright laws and must, at a
                 minimum, be clearly attributed.”

                 Another Zarronandia article, an
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7052 Page 22 of 48
                 obituary of David Bowie, pieces
                 together paragraphs from E! Online and
                 the LA Times, using near-identical
                 phrasing and sequencing.

                 Emails and Slack messages seen by
                 BuzzFeed News suggest that, over the
                 course of at least two years starting
                 September 2014, plagiarism may have
                 been routine practice for Mikkelson.

                 In one Slack message from January
                 2016, Mikkelson detailed his strategy for
                 copying and then quickly rewriting
                 articles after publishing. “Usually when
                 a hot real news story breaks (such as a
                 celebrity death), I just find a wire
                 service or other news story about it and
                 publish it on the site verbatim to
                 quickly get a page up. Once that’s done,
                 then I quickly start editing the page to
                 reword it and add material from other
                 sources to make it not plagiarized,” he
                 wrote.

                 In two emails from 2014 and 2015,
                 Mikkelson told staff to “pop over to one
                 of our competitor sites
                 (urbanlegends.com or hoaxslayer.com),
                 pick something out that they’ve
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7053 Page 23 of 48
                 recently published that we haven’t
                 covered,” and "rewrite it just enough to
                 avoid copyright infringement."


                 “Rewrite          In other emails from
                 it just           around the same time,
                 enough            Mikkelson described
                 to avoid          his vision for the site’s
                 copyrigh          future “as a platform
                 t                 for traffic-generating
                 infringe          junk that people would
                 ment.”            complain about if it
                                   were on ‘classic’
                 snopes,” including articles copied from
                 "viral item of the day" sites. Mikkelson
                 did not dispute the authenticity of any
                 of these exchanges and attributed them
                 to his poor understanding of how news
                 gathering works. "I don’t think
                 rewriting news stories is all that
                 remarkable," he said. "It’s a pretty
                 common practice when done correctly.”
                 But, he added, “I really sucked at it.”

                 Speaking with BuzzFeed News, former
                 Snopes writer Kim LaCapria — now with
                 Truth or Fiction — said she never
                 complied with any of Mikkelson's
                 directions to copy content, as she was
                 used to doing original journalism
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7054 Page 24 of 48
                 “without copying in a short period of
                 time.”

                 “I remember explaining that we didn't
                 need to ‘rewrite’ because we'd always
                 done this stuff quickly,” she said, adding
                 that “he just didn't seem to understand
                 that some people didn't plagiarize.”



                 In keeping with Snopes’ tradition of
                 giving its writers zany backstories,
                 Zarronandia's bio jokingly claimed that
                 he “won the Pulitzer Prize for
                 numismatics in 2006” and was "also the
                 winner of the Distinguished
                 Conflagration Award of the American
                 Society of Muleskinners for 2005.”
                 (There is no Pulitzer prize for
                 numismatics — commonly known as
                 coin collecting — and the “American
                 Society of Muleskinners” does not
                 exist.) A fake Twitter profile helped to
                 embellish his backstory, describing him
                 as a “Pop culture buff” and “Proud
                 bacon fanatic” from Pocatello, Idaho.

                 But it wasn't until Zarronandia began
                 covering the 2016 US presidential
                 election that the eccentric persona
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7055 Page 25 of 48
                 seemed to develop a life of his own.

                 There was much to debunk. Russia's
                 infamous troll factory was working
                 overtime to sow discord. A group of
                 Macedonian teens were making a small
                 fortune in ad revenue running pro-
                 Trump fake news sites. Trump's own
                 campaign strategist Steve Bannon was
                 busy “flood[ing] the zone with shit."

                 That August, the Zarronandia byline
                 appeared on an article defending Khizr
                 Khan, who'd made headlines after
                 denouncing then-candidate Trump in
                 an impassioned speech at the 2016
                 Democratic National Convention. The
                 speech spawned a slew of right-wing
                 conspiracy theories, among them one
                 that claimed Khan was a deep state
                 operative on the Clinton Foundation
                 payroll.

                 “Completely lacking from this narrative
                 is any actual evidence whatsoever that
                 Khizr Khan has, or has ever had, any
                 'deep legal and financial connections' to
                 Hillary Clinton,” Zarronandia wrote.

                 The article caught the attention of
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7056 Page 26 of 48
                 former Trump adviser and self-
                 professed “dirty trickster” Roger Stone,
                 who in his book The Making of the
                 President 2016 identified Zarronandia as
                 one of Clinton's “supporters in the
                 media” — apparently unaware that no
                 person by that name existed. (Stone also
                 referenced Zarronandia in his 2019
                 book, The Myth of Russian Collusion: The
                 Inside Story of How Donald Trump
                 REALLY Won.)

                 "Everything Snopes has ever reported
                 regarding me has been boilerplate
                 bullshit," Stone told BuzzFeed News
                 after this article was published. "If the
                 guy using a pseudonym wrote about me
                 I am completely unaware of it so I guess
                 you can tell him to cancel his victory
                 lap. ... He has no credibility. Reporters
                 who cite him as a source are laughed at,
                 shouted down and their credibility is
                 pummeled. Sorry but you are giving
                 these ineffective asswipes far too much
                 credit."

                 The Zarronandia byline appeared again
                 in November 2016, in an article
                 debunking unfounded claims that then-
                 president Barack Obama had overruled
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7057 Page 27 of 48
                 Trump's election victory and scheduled
                 a revote.

                 “There was no truth to this story,”
                 Zarronandia explained, adding that the
                 false claim had “originated with a
                 malware site that uses the illegally
                 appropriated trademarks of legitimate
                 news organizations in order to spread
                 fake news on social media and generate
                 advertising revenues.”

                 Although Zarronandia didn’t specify the
                 “malware site” in question, a search
                 optimization tag at the bottom of the
                 page suggests he was referring to
                 “abcnews.com.co,” a fake news site
                 created by self-proclaimed “hoax artist”
                 Paul Horner, who relished in trolling
                 inattentive readers with clearly
                 fabricated news stories.

                 Horner was livid, and in a Facebook post
                 shortly before his death said he planned
                 to sue Zarronandia for claiming “my
                 website has malware, when of course it
                 doesn't.”

                 BuzzFeed News was unable to find any
                 evidence for Snopes' malware claim.
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7058 Page 28 of 48
                 Asked for comment, Horner's younger
                 brother JJ said he didn't recall Horner
                 “using anything like that or him
                 mentioning it,” although Horner would
                 have found it “hilarious” to learn of
                 Zarronandia's true identity. His brother,
                 JJ said, “fucking hated Snopes.”


                 “Jeff            Other highlights from
                 Zarronan         Zarronandia’s fake
                 dia at           career include an
                 Snopes           honorary mention in
                 should           the online journal of
                 return           the Numismatic
                 the              Bibliomania Society,
                 Pulitzer         which seemed to
                 he won.”         recognize the joke, and
                                  a critique of his work
                 by the right-wing site Newsbusters,
                 which did not, arguing with a straight
                 face that he “should return the Pulitzer
                 prize he won in 2006.”

                 The practice of using fake bylines is not
                 new. In 2012, This American Life found
                 pseudonyms on more than 350 stories,
                 published across several major US
                 newspapers, that were sourced from
                 now-defunct content farm Journatic
                 and its sister company Blockshopper.
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7059 Page 29 of 48
                 Though some journalists may claim to
                 have legitimate reasons for using a
                 pseudonym — a dissident reporting
                 from an authoritarian country, for
                 example — the practice is widely
                 frowned upon. It is especially unusual
                 for the head of a site like Snopes to
                 write stories using both his own byline
                 and a pseudonym, potentially
                 implicating Mikkelson in the same kind
                 of deceptive behavior that the site has
                 spent more than 25 years interrogating.
                 The situation has left Snopes’ current
                 staffers mortified.

                 “Although none of us was to blame for
                 the actions of Snopes’ co-founder, we
                 empathize with the journalists whose
                 work was appropriated,” they wrote.
                 “This simply should never have
                 happened.”




                 Snopes.com Memo

                      In late July/early August,
                      members of this company
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7060 Page 30 of 48
                      began a comprehensive internal
                      investigation into allegations of
                      plagiarism leveled against
                      Snopes Founder/CEO David
                      Mikkelson after a journalist got
                      in touch with us about his own
                      research for a story.
                      The journalist, Dean Sterling
                      Jones, shared with Snopes
                      Managing Editor Doreen
                      Marchionni more than two
                      dozen examples of what
                      appeared to be sentences or
                      paragraphs from various news
                      sites pasted into Snopes news
                      stories without appropriate
                      attribution. Most of the stories
                      were published roughly between
                      2014 and 2016 under a generic
                      "Snopes Staff" byline or under
                      the defunct pseudonym "Jeff
                      Zarronandia."
                      The offending content was
                      typically often aggregated
                      "breaking" and “odd” stories on
                      various subjects originally
                      reported on by other news
                      organizations. In his research,
                      Jones said he also spoke with
                      former employees, who alleged
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7061 Page 31 of 48
                      Mikkelson had sent memos to
                      staff during that time that
                      could be construed as him
                      encouraging unethical
                      reporting practices.
                      Marchionni contacted Snopes
                      COO Vinny Green and the
                      company's outside human
                      resource consultant, Mary Jo
                      Ray, about how best to proceed.
                      Upon informing Mikkelson of
                      the allegations, Marchionni has
                      had free rein to conduct an
                      investigation into the issue.
                      Mikkelson has been cooperating
                      with the newsroom on all
                      related efforts.
                      We want to thank Jones for his
                      reporting. It's an example of
                      dogged, watchdog journalism
                      we cherish. Our staff has moved
                      quickly to fix the problem, and
                      we now want to share with our
                      community what we have done:
                      ● Marchionni suspended
                      Mikkelson from all editorial
                      production pending a final
                      outcome to the internal review
                      and removed his access to our
                      content management
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7062 Page 32 of 48
                      system,WordPress, for story
                      production/publishing.
                      ● Expanding on Jones' findings,
                      Green flagged all 140 news
                      articles under the generic
                      bylines for review and identified
                      other possible issues beyond
                      Buzzfeed's findings.
                      ● A staff reporter, who also
                      works as an adjunct journalism
                      professor, examined each
                      flagged post for plagiarism.
                      Marchionni then verified her
                      initial findings with the help
                      ofplagiarism detection software.
                      Our internal research so far has
                      found a total of 54 stories
                      Mikkelson published that used
                      appropriated material,
                      including all of the stories
                      Buzzfeed shared with us.
                      ● On Snopes.com, the offending
                      content will be removed while
                      the page itself will remain
                      accessible. An editor's note on
                      each post will explain the
                      source-attribution problem in
                      the original story and link to the
                      original news source(s)
                      (Associated Press, ABC News,
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7063 Page 33 of 48
                      etc.) that should have been
                      credited.
                      ● We are in the process of
                      archiving and retracting all of
                      the offending stories, along
                      with disabling any monetization
                      features on those posts. We will
                      attempt to contact each news
                      outlet whose reporting we
                      appropriated to issue an
                      apology.
                      ● The Snopes staff has
                      embarked on a comprehensive
                      review of the website's archives,
                      focusing initially on the author
                      archives, to identify any other
                      discrepancies or room for
                      improvement.
                      ● Marchionni is developing a
                      comprehensive byline policy
                      that answers any questions the
                      community might have about
                      how the generic "Snopes Staff"
                      byline has been used in the past
                      and how it is used today, among
                      other issues.
                      ● Marchionni is reevaluating
                      decisions Mikkelson made years
                      earlier to not allow Snopes
                      stories to be archived on the
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7064 Page 34 of 48
                      Wayback Machine and is
                      empowered to make any
                      changes necessary.
                      Let us be clear: Plagiarism
                      undermines our mission and
                      values, full stop. It has no place
                      in any context within this
                      organization. We invite readers
                      to let us know here if they find
                      any other examples of
                      plagiarized content so that we
                      can apply the same treatment as
                      above.
                      We talk often in the newsroom
                      about the priceless value of
                      reputation — that we are worth
                      no more than the credibility we
                      maintain with our community.
                      Our reputation is dependent on
                      our ability to get things right,
                      and more importantly, to
                      quickly correct the record when
                      we are wrong. We are
                      committed to a lifetime of
                      atonement through the rigorous
                      pursuit of the facts, especially in
                      scenarios such as this.
                      To the staff, past, present, and
                      future, who are undoubtedly
                      impacted by these findings, we
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7065 Page 35 of 48
                      are deeply sorry. While an
                      individual's actions have caused
                      this breach of our ethics, we
                      hope the extraordinary writers
                      and editors who work at Snopes
                      do not see their efforts and
                      reputation undermined by these
                      missteps. We can say without
                      hesitation they are among the
                      most gifted, dedicated, and
                      brightest employees we have
                      ever had the honor to work
                      with, and we learn from them
                      daily.
                      —Doreen Marchionni, vice
                      president of editorial/managing
                      editor Snopes.com
                      —Vinny Green, chief operations
                      officer for Snopes Media Group




                 Snopes Staff Memo

                      We, the writers of Snopes, feel it
                      is incumbent upon us to clearly
                      and publicly acknowledge that
                      Buzzfeed has discovered
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7066 Page 36 of 48
                      incontrovertible evidence that
                      the co-founder and CEO of
                      Snopes, David Mikkelson, has
                      written and published multiple
                      articles which contained
                      sentences taken from other
                      sources without proper
                      attribution. We strongly
                      condemn these poor journalistic
                      practices. No writer participated
                      in this behavior, nor did any
                      editors — Doreen Marchionni,
                      Camille Knox, and David Emery
                      — support or encourage these
                      practices. We have all been held
                      to very high journalistic
                      standards, both by our editors
                      and by our audience. Although
                      none of us was to blame for the
                      actions of Snopes’ co-founder,
                      we empathize with the
                      journalists whose work was
                      appropriated. This simply
                      should never have happened.
                      Under the leadership and
                      guidance of Marchionni, Knox,
                      and Emery, we work hard every
                      day to uphold the highest
                      possible journalistic and ethical
                      standards, and we believe our
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7067 Page 37 of 48
                      fact checks, original reporting
                      and investigative work are a
                      testament to those high
                      standards. We are proud of our
                      editors and proud of the work
                      we do.
                      —Alex Kasprak, Dan Evon, Jessica
                      Lee, Nur Ibrahim , Jordan Liles,
                      Madison Dapcevich, Dan Mac
                      Guill, Bethania Palma


                 David Mikkelson’s Statement

                      The results of our internal audit
                      confirmed that I engaged in
                      multiple serious copyright
                      violations of content that
                      Snopes didn’t have rights to use.
                      There is no excuse for my
                      serious lapses in judgement. I
                      am sorry. I have given full
                      authority to our managing
                      editor, Doreen Marchionni, to
                      take any measures needed to
                      address these issues.
                      While I can’t change the past, I
                      couldn’t be prouder of how
                      Snopes has evolved since then.
                      Snopes has grown beyond our
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7068 Page 38 of 48
                       roots as a “one-man band”
                       website into a newsroom of
                       dedicated, professional
                       journalists who serve the public
                       with trustworthy information.
                       Thanks to their efforts, Snopes
                       has published original reporting
                       on the COVID-19 pandemic, the
                       recent elections, Russian
                       disinformation efforts and so
                       much more. The last thing I ever
                       wanted was to have my mistakes
                       detract from their excellent
                       work, and I’m doing everything
                       I can to make it right.
                       —David Mikkelson



                 UPDATE
                 August 27, 2021, at 8:02 a.m.

                 This story has been updated with
                 comment from Roger Stone.




                             Contact Dean Sterling Jones at
                             sterlingjones1989@aol.com.

                             Got a confidential tip? Submit it here.
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7069 Page 39 of 48

                                   FINCEN
                                   FILES
                                     THE
                                   INVESTIGATION
                                    THAT
                                   CHANGED
                                     THE
                                   BANKING
                                   INDUSTRY
                                       A
                                   BuzzFeed
                                     News
                                   investigation,
                                       in
                                   partnership
                                   with the
                                   International
                                   Consortium
                                       of
                                   Investigative
                                   Journalists,
                                   based on
                                   thousands
                                       of
                                   documents
                                      the
                                   government
                                    didn't
                                     want
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7070 Page 40 of 48
                                    you to
                                     see.

                                        READ
                                        NOW
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7071 Page 41 of 48




                        EXHIBIT B
      Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7072 Page 42 of 48
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Federal Judge Says ‘Frivolous’ Lawsuit
Was Filed to ‘Harass’ Snopes
The litigant and attorney face court-ordered sanctions as a penalty for
targeting Snopes with frivolous lawsuit.
By Snopes Press
Published 8 October 2021
                                                                                      Save Our Snopes
                                                                                      It’s the final stand for facts. Will you join
                                                                                      the Snopes Rescue Crew?
                                                                                      PERKS

                                                                                         Ad-free browsing on Snopes.com
                                                                                         Members-only Newsletter
                                                                                         Digital Rescue Crew Badge


                                                                                      FREQUENCY

                                                                                                $60.00 Yearly Membership



                                                                                               $5.00 Monthly Membership




Dear Readers,
                                                                                      Memberships to Snopes.com are not tax-
                                                                                      deductible; however, they absolutely further our
We are very pleased to share an update on our epic court battle. We have the
                                                                                      mission to fight misinformation.
biggest victory yet for Snopes in this four-year ordeal – the full dismissal of
                                                                                      Need more facts about this offer? Learn More.
one of the many lawsuits that was filed against us!

And, in this latest ruling, a federal judge agreed that Snopes has been a target
of harassment through the courts.

This is the same litigation we have been telling you about, in which Snopes is
battling lawsuits filed by the owners of a former tech vendor. They have sued
us to try to force us to do business with them. The people behind the tech
vendor obtained some shares of Snopes and have tried to weaponize them by
filing some of the lawsuits as shareholders.

We have said again and again that this litigation is not a normal business
dispute. It’s bullying – using the courts as a weapon, forcing us to incur
enormous legal fees to defend ourselves and threatening the independence of
enormous
     Caselegal fees to defend ourselves and
           3:20-cv-01925-W-KSC              threatening
                                         Document       the independence
                                                     57-2                of PageID.7073 Page 43 of 48
                                                             Filed 11/16/21
Snopes.

The judge said in the Sept. 29, 2021, order that litigant Christopher Richmond
and his attorney, Matthew Hrutkay, deliberately filed a “frivolous” lawsuit to
“harass” Snopes; its CEO and Board Chairman, David Mikkelson; and a
member of the Snopes board of directors, Brad Westbrook.

Here’s why this matters: In addition to being a shareholder, Richmond himself
is a voting member of the Snopes board of directors, making him a fiduciary of
the company. He is supposed to be looking out for the best interests of
Snopes! Disturbingly, Richmond has been outed by the judge as trying to harm
the very company he partly owns.

Not only that, U.S. District Judge Thomas J. Whelan said that Richmond and
Hrutkay must face consequences – “sanctions” – for their bad behavior.

This is the ugly truth about the battle for the future of Snopes.


About the Federal Lawsuit
The federal lawsuit primarily focused on one issue: whether Snopes is allowed
to advance legal fees so that the company and its staff can defend themselves
in court. Richmond and the other hostile litigants have tried, unsuccessfully, to
block Snopes from paying for lawyers to defend the company’s employees.

The main lawsuit with Richmond and other plaintiffs began in 2017. It is
moving slowly through the state court system. Early on, the state court
unequivocally ruled that Snopes has a right to advance legal fees.

But that didn’t stop Richmond from trying to go after Snopes in federal court,
too. So, last year, Richmond filed a separate lawsuit in U.S. District Court to try
to block Snopes from advancing legal fees.

We told the judge that the plaintiffs were trying to re-litigate an issue that had
already been decided in the state courts – and the court agreed!

Judge Whelan granted our motion to dismiss the lawsuit, with some harsh
words for Richmond and Hrutkay. He said in the ruling that: “[T]he Court finds
Defendants have established this lawsuit is both frivolous and was filed to
harass Defendants. Accordingly, sanctions are appropriate against Richmond
and Attorney Hrutkay in this case.”

As sanctions, Richmond and Hrutkay will have to pay our attorney’s fees in the
federal case. This is a stunning victory, although it is just one chapter in this
litigation ordeal. While we are confident the federal lawsuit cannot be refiled,
the state lawsuit remains ongoing.


This is not the first time that the courts have taken notice of our struggle. A
  This isCase
          not the first time that the courts have
                3:20-cv-01925-W-KSC               taken notice
                                               Document        of our
                                                            57-2      struggle.
                                                                    Filed       A
                                                                           11/16/21 PageID.7074 Page 44 of 48
  state court judge described the opposition as “overtly hostile interests” to
  Snopes. Another judge in state court took them to task for “attempting to
  circumvent” a court’s ruling. And judges in both superior court and the
  California court of appeals noted that they relied on an “illegal contract” to try
  to claim rights to Snopes shares to further harass and encumber Snopes.

  The state case is expected to go to trial next year. We look forward to resolving
  it so that Snopes can finally move on from this ordeal.


  Thank You to Our Readers
  As you know, attorneys don’t work for free. Snopes was forced to hire a legal
  team to defend its interests. Last year alone, as we have reported, 20% of our
  revenues went toward legal fees.

  Fortunately, you stepped up. More than 44,400 people have donated to
  Snopes’ legal defense and operations fund.

  Your belief in Snopes keeps us going. Since 1994, we have been your trusted,
  independent source for debunking rumors and misinformation – and we are
  still here for you.

  Want to get involved? Visit our Save Our Snopes page to learn how you can
  help!

  We look forward to finishing this fight – and with your support, we intend to.

  Truthfully yours,

  Team Snopes

  By Snopes Press
  Published 8 October 2021




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Submit aCase
         Topic 3:20-cv-01925-W-KSC
                            Shop   Document 57-2 News
                                                 Filed 11/16/21 PageID.7075 Page 45 of 48




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Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7076 Page 46 of 48




                        EXHIBIT C
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7077 Page 47 of 48
       How it works            Start a GoFundMe                                    Sign in                Share   Donate




Save Our Snopes!

                                                                            $1,793,810 raised of $2,000,000
                                                                            goal


                                                                            44.3K     16.8K           75.4K
                                                                            donors    shares          followers


                                                                                                      Share



                                                                                             Donate now


                                                                                     This fundraiser is located
                                                                                     near you

               David Mikkelson is organizing this fundraiser on behalf of            Anonymous
               Snopes Media.                                                         $20         •   20 hrs


                                                                                     Jonathan Van En
       Get involved and become a Snopes Member or continue to
                                                                                     $9      •   4d
       contribute via GoFundMe.

                                                                                     Ronan Mandra
       Visit the Save Our Snopes campaign page for more information and              $10         •   4d
       merchandise opportunities.
                                                                                     Katherine Tharp
       ---                                                                           $20         •   7d


       Dear truth-seekers,                                                         Dirk Reese
                                                                               See            See top  See
                                                                                   $10 • 16 d
       Read more                                                               all           donations top




                      Donate                              Share




       Organizer and beneficiary

               David Mikkelson                       Snopes Media
               Organizer                             Beneficiary
               San Diego, CA


                 Contact




       Created July 24, 2017             Other
Case 3:20-cv-01925-W-KSC Document 57-2 Filed 11/16/21 PageID.7078 Page 48 of 48

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